Case 1:07-cr-00123-MJT    Document 305    Filed 08/07/08   Page 1 of 3 PageID #: 1150




             IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DIVISION OF TEXAS
                           BEAUMONTDIVISION



                                 No. 1:07-CR-123


 United States of America


 v.


 Tremond Baines aka “Sweeper”
                                             Defendant




             Findings of Fact and Recommendation on Guilty Plea
                    Before United States Magistrate Judge


       Pursuant to 28 U.S.C. § 636(b), this matter was referred to the under-
 signed United States Magistrate Judge to receive defendant’s guilty plea.

       On July 30, 2008, defendant, defendant’s counsel, and the government
 came before the court for guilty plea and allocution on Count I of the Informa-
 tion filed herein, charging a violation of 18 U.S.C. § 1956(h). After conducting
 proceedings in the form and manner prescribed by Rule 11 of the Federal Rules
 of Criminal Procedure, the undersigned finds:

       (1)    Defendant, after consultation with counsel of record, knowingly and
 voluntarily consents to pleading guilty before a United States magistrate judge,
Case 1:07-cr-00123-MJT     Document 305    Filed 08/07/08   Page 2 of 3 PageID #: 1151




 and did plead guilty to Count I of the Information subject to final approval
 and imposition of sentence by the district judge to whom this case is assigned.

       (2)   Defendant is fully competent and capable of entering an informed
 plea, is aware of the nature of the charges and the consequences of the plea, and
 the plea of guilty is a knowing and voluntary plea supported by an independent
 basis in fact containing each of the essential elements of the offense.

       (3)   Defendant’s plea is made pursuant to a plea agreement, a copy of
 which was produced for inspection and filed in the record. The plea agreement
 is of the type specified in F ED. R. C RIM. P. 11 (c)(1)(A) and (C), in that (1) the
 government agrees to not bring, or move to dismiss, other charges and (2) the
 parties agree and make a binding recommendation that a specific sentence or
 sentencing range is the appropriate disposition of the case, or that a particular
 provision of the Sentencing Guidelines, or policy statement, or sentencing factor
 does or does not apply.

       (4)   Defendant was advised that the court would defer its decision as to
 acceptance or rejection of the plea agreement until there has been an opportu-
 nity to consider the presentence report.

       (5)   Defendant was further advised that if the court accepts either or
 both of the plea agreement provisions wherein the United States agrees to
 dismiss or not bring other charges and further agrees to a specific sentence or
 sentencing range, such agreed disposition(s) will be included in the judgment.
 Defendant was further advised that if the court rejects either or both of those
 provisions, the court will give defendant an opportunity to withdraw the plea of
 guilty. Defendant was further advised that if defendant were to then choose not
 to withdraw the plea of guilty, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.
Case 1:07-cr-00123-MJT   Document 305     Filed 08/07/08   Page 3 of 3 PageID #: 1152




                             RECOMMENDATION

       Defendant’s guilty plea should be conditionally accepted. The court should
 defer its decision as to acceptance or rejection of the plea agreement until it has
 an opportunity to consider the presentence report.        If the court ultimately
 decides to accept the plea agreement, defendant should be adjudged guilty of the
 offense to which he has pleaded guilty.1

                     7 day of August, 2008.
       SIGNED this _____




                                       _______________________________________
                                       Earl S. Hines
                                       United States Magistrate Judge




       1
             28 U.S.C. § 636 normally gives parties ten days to object to
 recommendations submitted by a magistrate judge. However, as this recommendation
 is agreed, the court need not wait ten days before adopting such recommendation.
